            CaseApplication
   AO 106A (08/18) 2:23-mj-04563-DUTY                  Document
                            for a Warrant by Telephone or                1 Filed
                                                          Other Reliable Electronic    09/07/23
                                                                                    Means           Page 1 of 32 Page ID #:1


                                            UNITED STATES DISTRICT COURT
                                                                           for the
                                                               Central District
                                                             __________ Districtofof
                                                                                   California
                                                                                     __________

                      In the Matter of the Search of                          )
              (Briefly describe the property to be searched or identify the   )
                              person by name and address)                     )       Case No. 2:23-MJ-04563
       A residence located at 1247 Amherst Avenue,                            )
       Apartment 1, Los Angeles, CA 90025                                     )
                                                                              )

       APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
   penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
   property to be searched and give its location):

         See Attachment A
   located in the Central District of California, there is now concealed (identify the person or describe the property to be seized):
         See Attachment B
             The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                        evidence of a crime;
                        contraband, fruits of crime, or other items illegally possessed;
                        property designed for use, intended for use, or used in committing a crime;
                        a person to be arrested or a person who is unlawfully restrained.
             The search is related to a violation of:
                Code Section                                                             Offense Description
          18 U.S.C. § 875(c)                                                  Threat by interstate communication
          18 U.S.C. § 2261A(2)                                                Stalking
          18 U.S.C. § 922(g)(8)                                               Prohibited person with a firearm

             The application is based on these facts:
                    See attached Affidavit
                        Continued on the attached sheet.
           Delayed notice of            days (give exact ending date if more than 30 days:                                     ) is requested
         under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                    /s/ Jacob Tomes, FBI Special Agent
                                                                                                      Applicant’s signature
                                                                                  Jacob Tomes, FBI Special Agent
                                                                                                      Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

Date: ___________________
                                                                                                      Judge’s signature

City and state: Los Angeles, CA                                                   Honorable Margo A. Rocconi, U.S. Magistrate Judge
                                                                                                      Printed name and title

AUSA: Alix McKenna (x 6166)
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                              ATTACHMENT A

PREMISES TO BE SEARCHED

     The SUBJECT PREMISES is located at 1247 Amherst Avenue,

Apartment 1, Los Angeles, CA 90025.        The SUBJECT PREMISES is

located within a two story apartment building with tan stucco,

red brick veneer, red roofing tiles, and a bottom level parking

garage.

     The search shall include any appurtenances, outbuildings,

garages, sheds, carports, storage facilities, and containers --

such as storage lockers, storage spaces, or trash cans --

assigned to Apartment 1.




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                              ATTACHMENT B

ITEMS TO BE SEIZED

     1.   The items to be seized are fruits, instrumentalities,

and evidence of violations of 18 U.S.C. §§ 875(c) (threat by

interstate communication), 2261A (stalking), and 922(g)(8)

(prohibited person with a firearm) (collectively, the “Subject

Offenses”), namely:

          a.    Any firearms, ammunition, or weapons accessories,

such as holsters, slings, scopes, optics, cases, safes, or

magazines;

          e.    Data, records, documents, programs, applications

or materials relating to killing, maiming, shooting, ADD OTHER

SPECIFICS RE THE THREATS HE MADE other people, including

judicial officers, court staff, and/or family members of

judicial officers and court staff;

          f.    Data, records, documents, programs, applications

or materials relating to attempting to locate addresses or other

personal information related to judicial officers and court

staff.

          g.    Any documents, notes, manifestos, or other

written materials containing details regarding the

aforementioned incidents. During the course of the search,

photographs of the searched premises may also be taken to record

the condition thereof and/or the location of items therein.

          h.    Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to

show SMS text, email or social media communications or other



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text or written communications sent to or received from any

digital device;

          i.      Contents of any calendar or date book, including

any calendars or date books stored on any digital devices;

          j.      Audio recordings, photographs, video recordings

or still captured images on any digital device, phone memory

cards, or other storage related to obtaining firearms,

possessing firearms, or threats to public officials or their

family members;

          k.      GPS coordinates and other location information or

records identifying travel routes, destinations, origination

points, and other locations;

          l.      Any digital device used to facilitate the above

listed violations and forensic copies thereof.

      43. Any digital device which is itself or which contains

 evidence, contraband, fruits, or instrumentalities of the

 Subject Offense/s, and forensic copies thereof.

          a.      With respect to any digital device containing

evidence falling within the scope of the foregoing categories of

items to be seized:

          b.      evidence of who used, owned, or controlled the

device at the time the things described in this warrant were

created, edited, or deleted;

          c.      evidence of the presence or absence of software

that would allow others to control the device, such as viruses,

Trojan horses, and other forms of malicious software, as well as




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evidence of the presence or absence of security software

designed to detect malicious software;

          d.    evidence of the attachment of other devices;

          e.    evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;

          f.    evidence of the times the device was used;

          g.    applications, programs, software, documentation,

manuals, passwords, keys, and other access devices that may be

necessary to access the device or data stored on the device, to

run software contained on the device, or to conduct a forensic

examination of the device;

          h.    records of or information about Internet Protocol

addresses used by the device.

          i.    As used herein, the terms “records,”

“information,” “documents,” “programs,” “applications,” and

“materials” include records, information, documents, programs,

applications, and materials created, modified, or stored in any

form, including in digital form on any digital device and any

forensic copies thereof.

          j.    As used herein, the term “digital device”

includes any electronic system or device capable of storing or

processing data in digital form, including central processing

units; desktop, laptop, notebook, and tablet computers; personal

digital assistants; wireless communication devices, such as

telephone paging devices, beepers, mobile telephones, and smart

phones; digital cameras; gaming consoles (including Sony



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PlayStations and Microsoft Xboxes); peripheral input/output

devices, such as keyboards, printers, scanners, plotters,

monitors, and drives intended for removable media; related

communications devices, such as modems, routers, cables, and

connections; storage media, such as hard disk drives, floppy

disks, memory cards, optical disks, and magnetic tapes used to

store digital data (excluding analog tapes such as VHS); and

security devices.


SEARCH PROCEDURE FOR DIGITAL DEVICES

     44.   In searching digital devices or forensic copies

thereof, law enforcement personnel executing this search warrant

will employ the following procedure:

           a.   Law enforcement personnel or other individuals

assisting law enforcement personnel (the “search team”) will, in

their discretion, either search the digital device(s) on-site or

seize and transport the device(s) and/or forensic image(s)

thereof to an appropriate law enforcement laboratory or similar

facility to be searched at that location.        The search team shall

complete the search as soon as is practicable but not to exceed

120 days from the date of execution of the warrant.         The

government will not search the digital device(s) and/or forensic

image(s) thereof beyond this 120-day period without obtaining an

extension of time order from the Court.

           b.   The search team will conduct the search only by

using search protocols specifically chosen to identify only the

specific items to be seized under this warrant.



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                i.    The search team may subject all of the data

contained in each digital device capable of containing any of

the items to be seized to the search protocols to determine

whether the device and any data thereon falls within the scope

of items to be seized.     The search team may also search for and

attempt to recover deleted, “hidden,” or encrypted data to

determine, pursuant to the search protocols, whether the data

falls within the scope of items to be seized.

                ii.   The search team may use tools to exclude

normal operating system files and standard third-party software

that do not need to be searched.

                iii. The search team may use forensic examination

and searching tools, such as “EnCase,” “Griffeye,” and “FTK”

(Forensic Tool Kit), which tools may use hashing and other

sophisticated techniques.

           c.   The search team will not seize contraband or

evidence relating to other crimes outside the scope of the items

to be seized without first obtaining a further warrant to search

for and seize such contraband or evidence.

           d.   If the search determines that a digital device

does not contain any data falling within the scope of items to

be seized, the government will, as soon as is practicable,

return the device and delete or destroy all forensic copies

thereof.

           e.   If the search determines that a digital device

does contain data falling within the scope of items to be




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seized, the government may make and retain copies of such data,

and may access such data at any time.

          f.    If the search determines that a digital device is

(1) itself an item to be seized and/or (2) contains data falling

within the scope of other items to be seized, the government may

retain the digital device and any forensic copies of the digital

device, but may not access data falling outside the scope of the

other items to be seized (after the time for searching the

device has expired) absent further court order.

          g.    The government may also retain a digital device

if the government, prior to the end of the search period,

obtains an order from the Court authorizing retention of the

device (or while an application for such an order is pending),

including in circumstances where the government has not been

able to fully search a device because the device or files

contained therein is/are encrypted.

          h.    After the completion of the search of the digital

devices, the government shall not access digital data falling

outside the scope of the items to be seized absent further order

of the Court.

          i.    The review of the electronic data obtained

pursuant to this warrant may be conducted by any government

personnel assisting in the investigation, who may include, in

addition to law enforcement officers and agents, attorneys for

the government, attorney support staff, and technical experts.

Pursuant to this warrant, the investigating agency may deliver a

complete copy of the seized or copied electronic data to the



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custody and control of attorneys for the government and their

support staff for their independent review.

           j.   During the execution of this search warrant, law

enforcement is permitted to: (1) depress LIPMAN’s thumb and/or

fingers onto the fingerprint sensor of the device (only when the

device has such a sensor), and direct which specific finger(s)

and/or thumb(s) shall be depressed; and (2) hold the device in

front of LIPMAN’s face with his or her eyes open to activate the

facial-, iris-, or retina-recognition feature, in order to gain

access to the contents of any such device.        In depressing a

person’s thumb or finger onto a device and in holding a device

in front of a person’s face, law enforcement may not use

excessive force, as defined in Graham v. Connor, 490 U.S. 386

(1989); specifically, law enforcement may use no more than

objectively reasonable force in light of the facts and

circumstances confronting them.

      2.   The special procedures relating to digital devices

 found in this warrant govern only the search of digital devices
 pursuant to the authority conferred by this warrant and do not

 apply to any search of digital devices pursuant to any other

 court order.




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                                AFFIDAVIT

I, JACOB TOMES, being duly sworn, declare and state as follows:

                            I. INTRODUCTION


      1.      I am a Special Agent (“SA”) with the Federal Bureau of

Investigation (FBI) and have been so employed since February

2023.      I am currently assigned to a criminal threats squad

located at the Joint Regional Intelligence Center in Norwalk,

California (CA) 90650. While assigned to the criminal threats

squad, I have investigated crimes such as threats, stalking,

harassment, and school shooting threats. I have developed

expertise in assessing threats to determine their validity,

seriousness, and imminence.

      2.      I have been employed as a sworn law enforcement

officer for five years, serving with the City of Fullerton

Police Department, City of Menifee Police Department, and the

Federal Bureau of Investigation.       As a sworn Police Officer and

FBI Special Agent, I have investigated a wide range of crimes to

include narcotics trafficking, kidnappings, firearms violations,

gang crimes, court order violations, sex crimes, elder and child

abuse, homicides, robberies, attempted murder, and others.

      3.      I have lead numerous investigations in which I have

prepared search warrant affidavits and successfully lead the

authorized searches at various locations.

                        II. PURPOSE OF AFFIDAVIT

      4.      This affidavit is made in support of a warrant to

search 1247 Amherst Avenue, Apartment 1, Los Angeles, CA 90025
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(the “Subject Premises”) as more fully described in attachment

A, to search for and seize evidence itemized in Attachment B,

which are the evidence, fruits, and instrumentalities of

violations of 18 U.S.C. §§ 875(c) (threat by interstate

communication), 2261A(2) (stalking), and 922(g)(8) (prohibited

person with a firearm) (collectively, the “Subject Offenses”).

      5.   The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses. This affidavit is intended to show merely that there

is sufficient probable cause for the requested warrant and does

not purport to set forth all of my knowledge of or investigation

into this matter.     Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only, all amounts or sums are

approximate, and all dates and times are on or about those

indicated.

                    III. SUMMARY OF PROBABLE CAUSE
      6.   In May of 2022, Jonathan LIPMAN (“LIPMAN”), a Los

Angeles resident, posted threatening content on a Facebook page

belonging to the Lacey Township Police Department (LTPD) in the

State of New Jersey from an account under his own name.           As a

result, LTPD filed for a temporary extreme risk protective order

to prevent LIPMAN from possessing firearms.         On July 8, 2022,

Lacey Township Municipal Court Judge Benjamin Mabie signed the

temporary order.     The following day, a Los Angeles Police

Department officer served the order on LIPMAN in California.             On



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January 31, 2023, New Jersey Superior Court Judge Kim Marie

Rahill signed a Final Extreme Risk Protective Order, which

succeeded the temporary order and prohibited LIPMAN from

possessing firearms.

      7.   Beginning on or around February 1, 2023, LIPMAN

started sending hundreds of harassing and threatening emails to

New Jersey public officials, including Lacey Municipal Judge

Mabie, Oceanport Municipal Judge Patti, Lacey Township Official

Bruce Padilla, Ocean Superior Court Judge Rahill, and several

others. In many of these emails, LIPMAN wrote in explicit detail

how LIPMAN hoped the aforementioned public officials would die

painful, gruesome, and violent deaths.        On February 1, 2023,

LIPMAN emailed Judge Rahill a picture of what appeared to be a

lever action shotgun.

      8.   On July 13, 2023, Los Angeles Police Department

(“LAPD”) Detective Cao made contact with LIPMAN at the Subject

Premises and spoke to him regarding the threatening emails he

had been sending.     LIPMAN told Detective Cao that he would

continue to send threatening emails. Less than two weeks later,

LIPMAN sent Judge Rahill 11 threatening emails explaining how he

would like to see her die. As of September 6, 2023, LIPMAN had

sent approximately 400 emails to the aforementioned victims, a

majority of which have been threatening, violent, or harassing

in nature.




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                    IV. STATEMENT OF PROBABLE CAUSE

      9.    The information below is based on my review of law

enforcement reports, conversations with other law enforcement

agents, and my own knowledge of the investigation.

      10.   On July 7, 2023, I was assigned a criminal threats and

stalking case which had been reported to the FBI by the New

Jersey Court and Judicial Security Unit (“New Jersey Court

Security”).    I spoke to and received documents from several

individuals at the New Jersey Court Security including Chief

Robin Morante, Judicial Risk Assessment Manager James Pisano,

and Security Programs Coordinator Katherine Grzeda.          I reviewed

a report authored by New Jersey State Police Department (NJSP)

Detective D. Harrison who had been investigating LIPMAN for the

same series of ongoing criminal threats and stalking conducted

by LIPMAN against several public officials in New Jersey.

      11.   I know from my conversations with New Jersey Court

Security personnel and review of documents provided by NJSP and

New Jersey Court Security that around May 3, 2022, a user with

the name “Jonathan Lipman” posted threatening content on the

Facebook page belonging to the Lacey Township Police Department

(LTPD) in the State of New Jersey. In these Facebook posts,

Lipman made statements such as “You and your officers an their

families will regret your continued cover up”, “Gary quinn

doesn’t belong on a plaque. He belongs on someones mantle”,

“They and their families lives don’t matter. The world would be

better off it officers like Dallas Gant were removed from the

planet,” and “Their children will pay.”



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      12.   I know based on my review of the Extreme Risk

Protective Order that LTPD subsequently filed for a Temporary

Extreme Risk Protective Order in the State of New Jersey, which

was signed by Lacey Township Municipal Court Judge Benjamin

Mabie on July 8, 2022.      The protective order required LIPMAN to

surrender any firearms and ammunition in his possession and

prohibited LIPMAN from purchasing any additional firearms.

      13. I know according to New Jersey Court Security

personnel, that during court proceedings for the Extreme Risk

Protective Order, LIPMAN was residing in Los Angeles, California

and was attending online virtual court hearings.          LIPMAN had

previously been a resident of New Jersey.

      14. I know based on my conversations with New Jersey Court

Security and Los Angeles Police Department officers that once

the temporary order was granted, New Jersey Court Security sent

service documents to LAPD.      LAPD Officer T. Nguyen served LIPMAN

with the Extreme Risk Protective Order at the Subject Premises

on July 9, 2022.     A search for firearms was not conducted and

LIPMAN did not surrender any firearms to LAPD at that time.

      15. A California DMV records check revealed that LIPMAN has

a 2014 Hyundai with a license plate number of 7FZF800 registered

to him with an address of 1247 Amherst Avenue, Apartment 1, Los

Angeles, CA 90025 (i.e., the Subject Premises).

      16. I know based on my review of the Final Extreme Risk

Protective order that the Final Extreme Risk Protective Order


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was granted and signed by Superior Court Judge Kim Marie Rahill

on January 31, 2023. This Final Extreme Risk Protective Order

was granted to supersede and replace the previous Temporary

Extreme Risk Protective Order. As of the date of this filing,

the restraining order is current and will remain in place

indefinitely until or unless a petition is filed by LIPMAN to

vacate the order.     I know based upon my review of email

correspondence between LIPMAN and Erin Caulfield that LIPMAN

received notice of his court hearings and was provided with

instructions on how to participate in the virtual court

hearings.

      17. I know based on my conversations with New Jersey Court

Security personnel and review of emails that after the court

proceedings for the protective order, LIPMAN began sending an

extensive series of emails to several public officials, court

employees, judges, and LTPD police officers.         LIPMAN emailed

threatening messages directly to or mentioned the following

individuals in the emails: Ocean Superior Court Judge Kim Marie

Rahill, Lacey Municipal Judge Benjamin Mabie, Ocean County

Commissioner Gary Quinn, Attorney Bruce Padula, Probation

Officer Erin Caulfield, Municipal Court Judge John Patti,

Oceanport Police Chief Michael Kelly, LTPD Police Officer C.

Kenney, LTPD Police Officer D. Gant, and other miscellaneous

individuals. I was provided with copies of approximately 400 of


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these emails by New Jersey Court Security and have reviewed

them. LIPMAN sent these emails from several email accounts to

include jlipman52@gmail.com, rentpoetfraud@gmail.com,

ocjudgesarecapitalistliars@gmail.com, and

laceyviolatesconstitution@gmail.com.        In many of these emails,

LIPMAN either included the signature “Jonathan Lipman” in the

body of the emails, mentioned “Jonathan Lipman” by name,

responded to official court correspondence, or in one instance

sent a photograph of himself in the email, indicating that the

email addresses belong to and / or were operated by LIPMAN.

Specifically, LIPMAN emailed Judge Rahill approximately 6 times

on February 4, 2023, approximately 3 times on March 28, 2023,

approximately 11 times on July 23, 2023, and on several other

dates. LIPMAN also emailed Judge Patti, Chief Kelly, Bruce

Padula, and other recipients approximately 96 times on July 25,

2023 and Officers Kenny and Gant approximately 32 times on July

9 and 10 of 2023. LIPMAN sent hundreds of other emails to these

recipients and others from approximately February 1, 2023 up to

September 6, 2023.     LIPMAN’s initial emails contained

explanations as to why LIPMAN felt his constitutional rights had

been violated by the aforementioned individuals during his

Extreme Risk Protective Order court proceedings. As described

below, the emails quickly turned threatening in nature and

included graphic and violent descriptions of how LIPMAN prayed,


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desired, wished, and fantasized for the aforementioned

individuals to die.

      18. Around February 1, 2023, LIPMAN sent an email to Judge

Kimarie Rahill from the email address “jiplman52@gmail.com”

titled “Is a photo illegal?”       The body of the email only

included the text “ ;) ” (winking emoticon) and a picture of a

lever action shotgun. The following is the photograph that was

sent:




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The email was signed “Jonathan Lipman” at the end of the email.

Based on my training and experience, the firearm in the

photograph appeared to be real with no features to indicate that

the firearm was fake; however, it is impossible to determine

without physically examining the firearm.         A reverse image

search of the shotgun was conducted by SA Tomes and received

negative results indicating LIPMAN had likely taken the

photograph of the shotgun himself.

      19. On February 1, 2023, according to New Jersey Court

Security, LIPMAN left a voice message for Judge Rahill on Erin

Caulfield’s telephone in which LIPMAN stated, “it’s a shame

there are kids that get shot up in schools instead of you

people.”

      20. I know from a report authored by NJSP Detective

Harrison that around February 1, 2023, Detective Harrison

interviewed LIPMAN via LIPMAN’s telephone. Detective Harrison

indicated in his report that LIPMAN’S phone number was (609)

618-2597. Detective Harrison asked him about the picture of the

shotgun LIPMAN had emailed to Judge Rahill.         LIPMAN told

Detective Harrison that he was exercising his first amendment

rights, that firearm seen in the image was just a “prop”, and

that LIPMAN does not own firearms. LIPMAN sent Detective

Harrison a copy of LIPMAN’s California Driver’s License and

confirmed his identity.


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      21. According to NJCJSP reports, Around February 23, 2023,

Judge Rahill’s neighbor; Edward O’Neill, received a voicemail

from LIPMAN using telephone number (609) 618-2597 stating “I

don’t know if you are Kimarie Rahill’s neighbor but if you are

you are in danger. She has violated my rights and will do the

same to you. She also does not believe in the constitution,

which is also a danger”. LIPMAN has no known association with

O’Neil.   New Jersey Court Security expressed concern that LIPMAN

appeared to be researching the home address of Judge Rahill and

her neighbor O’Neill, and subsequently making unsolicited phone

calls to O’Neill. According to NJSP reports, the telephone

number (609) 618-2597 was verified to be LIPMAN’S telephone

number based upon NJSP’s prior contact telephonic contact with

LIPMAN.

      22. Around February 27, 2023, Carol Smith, the court

administrator for Judge Patti, along with James Butler and Bruce

Padula, all received an email from LIPMAN sent from the email

address jlipman52@gmail.com containing a photograph of LIPMAN

with a white rope noose around his neck. In the photograph,

LIPMAN is seen holding an iPhone. The email contained the

signature “Jonathan Lipman”.

      23. Around March 28, 2023, LIPMAN sent Judge Rahill three

emails from the email address jlipman52@gmail.com. In one of the

emails, LIPMAN wrote “But as you struggle to breath or what ever


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consequence your selfish little life befalls you body and

betrays your existence, you will remember me. You concerns about

where you are headed are warranted. Some call it hell”. The

email was signed “Jonathan Lipman”.

      24. Around April 3, 2023, and April 5, 2023, LIPMAN sent

approximately 8 emails from the email address

jlipman52@gmail.com to various recipients including Judge

Rahill, Chief Kelly, Judge Patti, and Bruce Padula. In one email

sent to Chief Kelly, Bruce Padula, John Patti, and others,

LIPMAN wrote “just saying the world would be better off if you

and your children were kidnapped, imprisoned, and then put in a

gas chamber”. Several of these emails were signed “Jonathan

Lipman” in the body of the emails.

      25. Around April 7, 2023, an email titled “Bigoted Judges

the world would be better off being removed from existence” was

sent to Judge Rahill and several other recipients from the email

address ocjudgesarecapitalistliars@gmail.com. The author refers

to Jonathan Lipman several times in the body of the email and

writes in the same style as LIPMAN’S other emails. For these

reasons, it is believed LIPMAN is the author of this email. In

the email, the author writes “We are watching you judges” and

“You will regret it.”.

      26. Around June 7, 2023, and June 30, 2023, LIPMAN sent

approximately 17 emails from the email address


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jlipman52@gmail.com to various recipients including Bruce

Padula, Judge Patti, and Chief Kelly. In one email sent on June

30, 2023, LIPMAN wrote “The world would be better off if Bruce

died a painful death as his wife and children helplessly

watched, I pray his blood is splattered all over his family so

they can pay for his sins too” and “Michael Kelly, I pray he is

ran over in a traffic stop. The world would be better off if

chief Michael Kelly became one with the pavement like a crushed

bug”.   Several of these emails were signed “Jonathan Lipman” in

the body of the emails.

      27. Around June 30, 2023 LIPMAN sent an email to Judge

Patti and other officials using the email address

jlipman52@gmail.com stating “Most of all though, the world would

be better off if John Patti was executed French Revolution style

and his head was passed around for people to fuck with. Just to

make a demonstration of what happens to people who trample on

civil right.”

      28. Around July 9, 2023, and July 10, 2023, LIPMAN sent

numerous emails from “jlipman52@gmail.com” signed “Jonathan

Lipman” to LTPD Officers C. Kenney and D. Gant.          In these emails

LIPMAN made statements such as “Gary wuinns head will be on my

mantle. It was always going to be a bobblehead. It will be on

others mantles too”, and “This time I made threats though. Which

means as a California resident I should be charged with the


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federal crime of making terroristic threats”, and “beheadings,

cancer, bullets to the head. Im not god. Its not my decision.

But whatever way that removes these terrible government

employees who would make better corpses than people i pray god

takes.”   Several of these emails were signed “Jonathan Lipman”

in the body of the emails.

      29. Around July 13, 2023, LAPD Detective Cao made contact

with LIPMAN at his residence located at 1247 Amherst Avenue,

Apartment 1, Los Angeles, CA 90025 (i.e., the “Subject

Premises”). The address of 1247 Amherst Avenue, Apartment 1, Los

Angeles, CA 90025 is listed as Lipman’s address on his

California Driver’s License.       Detective Cao spoke to LIPMAN

regarding the emails being sent to New Jersey public officials.

LIPMAN stated he does not want to hurt anyone.          LIPMAN stated he

was in control but was trying hard to “not cross over the line”.

Detective Cao asked LIPMAN if he would stop sending emails to

public officials in New Jersey, to which LIPMAN stated if he was

not going to be placed under arrest, he would continue to send

emails.

      30. Around July 23, 2023, Judge Rahill received about 11

emails sent from “laceyviolatesconstitution@gmail.com”. The

emails appeared to have been sent by LIPMAN based upon the

recipient, writing style, and nature of the emails. In the

emails, the author wrote in explicit detail about how he prays


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and hopes Judge Rahill will die. In one email titled “knives

over guns”, the author stated “guns are too quick now I could be

talking about in a movie or a tv show. I could be talking about

in a book. I could be talking about a radio play”.          In another

email to Judge Rahill, the author wrote “Let us imagine

Alexander Burr, Alexander Hamilton, Patrick Henry, James

Madison, thomas paine, and John Jay, all gun owners who called

for the execution of tyrants like Kimarie Rahill, breaking into

kimarie Rahills house in the middle of the night and removing

her at gun point”, and “lets imagine kimarie rahill being

dragged to the gallows”, and “Then Kimarie Rahill is beheaded.

Her head is placed on a stick. Her limbs and body parts sold as

souvenirs.”    The author then made the statement, “Now of course

this is just a fantasy. No crime has ever been committed.

Nothing has been threatened. No threats had even been

instituted”.

      31. Around July 25, 2023, a series of emails was sent to

Bruce Padula, Chief Kelly, Judge Patti, and other recipients

from the email address rentpoetfraud@gmail.com. In one email,

the author writes “You will never prove Jonathan Lipman wrote

anything though.”. On the same day, the author sent several

violent and threatening emails including one email titled,

“Bruce Padula is covering a knife attack on a jewish person”. In

the body of this email, the author writes “lets imagine the


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knife cutting deep as he begs and pleads to live and the person

supposed to protect him does nothing.”.        In another email sent

from rentpoetfraud@gmail.com on the same day the author writes

“but how would you all look if jonathan lipman snapped and

killed someone in a 10 years because they couldn’t handle

Monmouth, ocean and new jersey governments persecuting them for

seeking their first amendment right…”.

      32. Around August 5, 2023, an email was sent from the email

address rentpoetfraud@gmail.com to Judge Mabie, Judge Rahill,

Officer Kenny, and various other recipients titled “A Violent

Terroristic Threat”. In the email, the author states “he is more

likely to come to ocean county than Jonathan lipman… make sure

to remove his right to own weapons. Don’t just limit it to

guns”.

      33. Around August 9, 2023, an email was sent from the email

address rentpoetfraud@gmail.com to Judge Mabie, Judge Rahill,

Judge Patti, Chief Kelly, in which the author states “Jonathan

lipman has a right to die as the governments martyr just like

jesus”. The author of all these emails sent from

rentpoetfraud@gmail.com wrote in the same style as other emails

sent by LIPMAN, sent the emails to the same recipients, and

mentioned LIPMAN by name in the body of the emails. For these

reasons, it is believed the author of the emails sent from

rentpoetfraud@gmail.com is LIPMAN himself.


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      34. Around August 24, 2023, Judge Patti received about 28

voicemails from the telephone number (609) 618-2597, which

according to NJSP belongs to LIPMAN. New Jersey Court Security

provided me with recordings of the voicemails, and I reviewed

them. In the voicemails, LIPMAN states repeatedly that “John

Patti is a worthless bigot” for various reasons. In several

voicemails LIPMAN states “John Patti is a worthless bigot the

world would be better off without”.         LIPMAN also explains in

several voicemails that he does not have a right to directly

threaten to harm Judge Patti, but he does have a right to say

that he hopes and wishes death upon Judge Patti.

      35. As of September 6, 2023, New Jersey Court Security

provided me with, and I have reviewed approximately 400 emails

that LIPMAN sent to public officials between February 1, 2023

and September 6, 2023 using several email addresses including

jlipman52@gmail.com, laceyviolatesconsitution@gmail.com,

rentpoetfraud@gmail.com, and

ocjudgesarecapitalistliars@gmail.com.         A majority of these

emails are threatening, violent, or harassing in nature. I have

also reviewed numerous reports detailing the instances when

LIPMAN called New Jersey public officials and their associates.

In a majority of these emails and telephone calls, LIPMAN

explains in varying levels of detail how he prays, desires, and

wishes for these New Jersey public officials to die gruesome


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deaths.   LIPMAN often qualifies his statements by writing that

he is not violent and that these are not actually threats but

rather fantasies.

      36. New Jersey Court Security reports stated they have

received emails from LIPMAN from the following email addresses:

ocjudgesarecapitalistliars@gmail.com, jLIPMAN52@gmail.com,

rentpoetfraud@gmail.com, jonathanlipmannumber2001@gmail.com, and

laceyviolatesconstitution@gmail.com in what appears to be an

attempt by LIPMAN to avoid public officials from blocking his

emails and to conceal his identity. New Jersey Court Security

Security Programs Coordinator Katherine Grzeda stated as on

September 6, 2023, LIPMAN continues to send threatening emails

to public officials on a regular basis. SA Tomes reviewed and

confirmed LIPMAN has continued to send emails to New Jersey

public officials as of September 6, 2023.

      37. Due to the extensive volume and frequency of LIPMAN’s

correspondence to various New Jersey public officials, this

statement of probable cause does not set forth each and

every fact that I or others have learned during the course

of this investigation, but rather, only the facts necessary to

establish probable cause that the aforementioned criminal

statutes have been violated.

           V. TRAINING AND EXPERIENCE ON DIGITAL DEVICES

       38. Based on my training, experience, and information from

 those involved in the forensic examination of digital devices,



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 I know that the following electronic evidence, inter alia, is

 often retrievable from digital devices:

           a.    Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

           b.    Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.           That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.



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            c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.     For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

            d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.       Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.

      39.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

during a search of the premises for a number of reasons,

including the following:

            a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.        Also, there are now so

many types of digital devices and programs that it is difficult

to bring to a search site all of the specialized manuals,

equipment, and personnel that may be required.



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            b.   Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

      40.   The search warrant requests authorization to use the

biometric unlock features of a device, based on the following,

which I know from my training, experience, and review of

publicly available materials:

            a.   Users may enable a biometric unlock function on

some digital devices.     To use this function, a user generally

displays a physical feature, such as a fingerprint, face, or

eye, and the device will automatically unlock if that physical

feature matches one the user has stored on the device.           To

unlock a device enabled with a fingerprint unlock function, a

user places one or more of the user’s fingers on a device’s

fingerprint scanner for approximately one second.          To unlock a

device enabled with a facial, retina, or iris recognition

function, the user holds the device in front of the user’s face

with the user’s eyes open for approximately one second.

            b.   In some circumstances, a biometric unlock

function will not unlock a device even if enabled, such as when

a device has been restarted or inactive, has not been unlocked

for a certain period of time (often 48 hours or less), or after

a certain number of unsuccessful unlock attempts.          Thus, the

opportunity to use a biometric unlock function even on an




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enabled device may exist for only a short time.          I do not know

the passcodes of the devices likely to be found in the search.

           c.    Thus, the warrant I am applying for would permit

law enforcement personnel to, with respect to any device that

appears to have a biometric sensor and falls within the scope of

the warrant: (1) depress LIPMAN’s thumb and/or fingers on the

device(s); and (2) hold the device(s) in front of LIPMAN’s face

with his or her eyes open to activate the facial-, iris-, and/or

retina-recognition feature.

          VI. TRAINING AND EXPERIENCE ON FIREARM OFFENSES

       41. From my training, personal experience, and the

 collective experiences related to me by other law enforcement

 officers who conduct who conduct firearms investigations, I am

 aware of the following:

           a.    Persons who possess, purchase, or sell firearms

generally maintain records of their firearm transactions as

items of value and usually keep them in their residence, or in

places that are readily accessible, and under their physical
control, such as, in their vehicles or in their digital devices.

It has been my experience that prohibited individuals who own

firearms illegally will keep the contact information of the

individual who is supplying firearms to prohibited individuals

or other individuals involved in criminal activities for future

purchases or referrals.      Such information is also kept on

digital devices.

           b.    Many people also keep mementos of their firearms,

including digital photographs or recordings of themselves



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possessing or using firearms on their digital devices.           These

photographs and recordings are often shared via social media,

text messages, and over text messaging applications.

           c.    Those who illegally possess firearms often sell

their firearms and purchase firearms.        Correspondence between

persons buying and selling firearms often occurs over phone

calls, e-mail, text message, and social media message to and

from smartphones, laptops, or other digital devices.           This

includes sending photos of the firearm between the seller and

the buyer, as well as negotiation of price.         In my experience,

individuals who engage in street sales of firearms frequently

use phone calls, e-mail, and text messages to communicate with

each other regarding firearms that the sell or offer for sale.

In addition, it is common for individuals engaging in the

unlawful sale of firearms to have photographs of firearms they

or other individuals working with them possess on their cellular

phones and other digital devices as they frequently send these

photos to each other to boast of their firearms possession

and/or to facilitate sales or transfers of firearms.

           d.    Individuals engaged in the illegal purchase or

sale of firearms and other contraband often use multiple digital

devices.

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                             VII. CONCLUSION

       42. For all the reasons described above, there is probable

 cause to believe that the items listed in Attachment B, which

 constitute evidence, fruits, and instrumentalities of

 violations of the Subject Offenses will be found at the Subject

 Premises, as described in Attachment A.




Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this ____ day of
September, 2023.



HONORABLE MARGO A. ROCCONI
UNITED STATES MAGISTRATE JUDGE




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